Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 1 of 10
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                                UN ITED STATES D ISTRICT CO UR T
                                SO UTH ERN D ISTRIC T O F FL OR IDA

                                  CaseNo.         1:im'ol% î-Baem x          .




       UNITED STA TES O F AM ERICA



       JUSTIN BO CCIO ,

                       D efendant.
                                              /


                                     CRIM INA L CO VER SH EET

          Did this m atter originate from a m atter pending in the CentralRegion ofthe United States
          Attorney'sOfficepriortoAugust9,2013(Mag.JudgeAliciaValle)?                    Yes V No
          Did thism atler originate from a m atterpending in the N orthern Region ofthe United States
          Atlorney'sOfficepriortoAugust8,2014(Mag.JudgeShaniekM aynard)?                Yes V No


                                                  Respectfully subm itted,

                                                      AN A FAJARD O ORSHAN
                                                      TED STATES ATTORN EY
                                                        *




                                                   l         ILLER '
                                                  A ISTAN T U NITED STA TES ATTORN EY
                                                  DistrictCourtNo.A5502054
                                                  99 N .E.4th Street
                                                  M iam i,Florida 33132
                                                  Te1:       305-961-9312
                                                  Fax:
                                                  Email: lisa.miller@usdoj.gov
 Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 2 of 10

AO91(Rev.11/11) CriminalComplaint

                                U NITED STATESD ISTRICT C OURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAmerica
                           V.                                                  q # N-F3î-%e.eê&
                  JUSTIN BO CCIO ,
                                                                casexo.jt! )


                                         C RIM IN A L CO M PLA IN T
        1,the com plainantinthiscase,statethatthefollowing istrueto the bestofmy knowledge and belief.
Onoraboutthedatets)of               January14,2019         inthecountyof Browardand Miami-Dade inthe
   Southern    Districtof             Florida      ,thedefendantts)violated:
          CodeSection                                            OffenseDescri
                                                                             ption
18U.S.C.j 1201(a)                       Kidnapping
18U.S.C.â 1201(c)                       Conspiracy to Com m itKidnapping
18U.S.C.j 924(c)                        Using/carrying a Firearm infudherance ofa CrimeofViol
                                                                                            ence




        Thiscriminalcomplaintisbased onthesefacts'
                                                 .
See Attached Affidavit.




        V Continuedontheattachedsheet.

                                                                               Complainant'
                                                                                          ssign ur
                                                                         SpecialAgentJam esKelley,FBI
                                                                               Printednameand title

Sworn to beforem eand signed in my presence.


Date:#.)./j                                                                      Jud '
                                                                                     ssignature

City and state'
              .                                                     o .Ja ueline Becerra,U.S.M agistrate Judge
                                                                               Printed nameandtitle
Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 3 of 10



                                  A FFID A VIT IN SUPPO R T O F
                                    C R IM INA L C O M PLA INT

         1,SpecialA gentJam esK elley,being firstduly sw orn,hereby depose and state asfollow s:

                 lam aSpecialAgentwith theFederalBureau oflnvestigation (çTBI''),and have
  been since January 2016. I nm currently assigned to the FB1M iam iField O ffice V iolentCrim es

  and Fugitive Task Force, which targets individuals involved in violent criminal activity and

  evasion oflaw enforcem ent. A spartofm y duties,I investigate a variety ofviolations offederal

  law s,including,butnot lim ited to,kidnapping,bank robberies,H obbs A ctrobberies,and crim es

  on the high seas. 1 received training on the proper investigative teclm iques for these violations,

  including the application and execution ofarrestand search w arrants. M y experience asa federal

  1aw enforcem entagenthasincluded execution ofarrests and search w arrants.

         2.     I subm it this A ffidavitbased upon inform ation know n to m e personally from the

  investigation,asw ellasinform ation obtained from othersw ho have investigated thism atlerand/or

  have personalknowledge ofthe facts herein. ThisAffidavitis being submitted forthe lim ited

  purpose ofestablishing probable cause to obtain an arrestw arrant. Therefore,itdoes notcontain

  al1the infonnation thatIam aw are ofregarding thisinvestigation;how ever,no information w hich

  w ould negate probable cause forthisw arranthasbeen w ithheld.

         3.     Based on m y training and experience and the facts as set forth in this A ffidavit,

  thereisprobable causeto believethatJUSTIN BOCCIO (kûBOCCIO'')and others,known and
  unknown,committed violations of 18 U.S.C.j 1201(a) (kidnapping); 18 U.S.C.j 1201(c)
  (conspiracy to commit kidnapping); and 18 U.S.C. j 924(c) (using/carrying a tirearm in
  furtheranceofacrimeofviolence).
Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 4 of 10



                         FA CT S ESTA BLISH IN G PR O BA BLE C A U SE

                          K idnappinm T orture and A ttem pted R obberv

         4.      O n or aboutJanuary 15,2019,atapproxim ately 3:45 a.m .,police responded to a

  continuously honking carhorn in the parking lotofacom m ercialestablishm entlocated in Broward

  County in the Southern District of Florida. Upon responding, police discovered a person

  (hereinafter,ttvictim'')inthefrontseatwithhis/herhandsandfeetbound.Therespondingofficers
  noted thatV ictim had burnson his/herhands and lacerationson his/herface.

                 Law enforcem entlaterinterview ed V ictim on m ultiple occasions. V ictim advised

  thathe/sheisaplasticsurgeon in BrowardCounty.Victim furtheradvisedthatonoraboutJanuary

  14, 2019, at approxim ately 6:45 p.m ., V ictim w as shopping at a Brow ard County retail

  establishm ent,and attem pted to enterhis/hervehicle upon exiting the store. V ictim advised thata

  m an,arm ed w ith a firearm ,approached him /herand forced him /herinto a w aiting van,blindfolded

  him /her,and botmd his/her hands and feet. V ictim advised thatthere w ere m ultiple abductors

  based on conversationsthatVictim heard in the van. V ictim stated thathis/hercaptors repeatedly

  used ataserto shock him /her.V ictim advised thathe/she w asin the m oving van forapproxim ately

  one hourbefore itparked.

         6.     V ictim stated that his/her captors m oved him /her inside a sm all room in an

  unknownlocation and placed him/herinto arolling chair.Victim statedthathis/hercaptorsbound

  his/herhands to the chair's armrest. The captors rem oved Victim 's blindfold and he/she saw

  severalsharp devicesand guns.V ictim 's captors show ed him /her severaldocum ents w ith his/her

  personalidentifying inform ation on itand then threatened to killV ictim ifhe/she did notgive the

  captorsm oney. A ccording to V ictim ,his/hercaptorsstruck him /herand used a blow torch to burn

  thetopofhis/herhands.Victim statedthattheyalsoburnedhis/herhandswithahotmetalobject.


                                                  2
Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 5 of 10



                  V ictim advised law enforcem entthat he/she told his/her captors thatV ictim w as

  willingtogivethem whatevertheywanted,buttheyjustkepthitlinghim/herandburninghis/her
  hands. V ictim said thathis/hercaptors also asked ifhe/she had m oney thatthey could getaccess

  to thatnight. V ictim provided them his/her hom e address in M iam i-D ade County,Florida,the

  gate entry infonnation,and the alnrm code to the house. Victim also gave them instructions on

  wherethey could find approxim ately $50,000 insideofhis/herhouse.
         S.      V ictim could notclearly see his/hercaptorsbecause they w ere w earing headlnm ps

  and baseballcaps.Accordingto Victim ,there weretwo malespresent.

         9.      Afler Victim provided the aforementioned inform ation,his/her captors forced

  him/herto drink alcoholagainsthis/herw ill. V ictim stated thatthe captorsthen puthim /her back

  into the van,and he/she passed out. Victim advised thathe/she awoke back inside ofhis/her

  personalvehicle,which w as now parked atthe com m ercial location m entioned in Paragraph 4,

  and w here police found Victim .


                                          The lnvestization


         10.     Law enforcem ent obtained and view ed video surveillance from the retail

  establishm entm entioned in Paragraph 5 and from where the kidnappers m ade aw ay w ith V ictim .

  The video show s V ictim parking in the store's parking 1otand then entering the store. Shortly

  thereafter,agrey colored van appeared and rem ained in the parking lot.The grey van subsequently

  parked nextto V ictim 'svehicle w hen the space becam e vacant.The video depicts an individual

  exiting the driver side of the van,w earing a baseballcap and a reflective vest,w ho w aited for

  V ictim to retul'n to his/hervehicle.The individualw earing the baseballcap then confronted V ictim

  and putV ictim into the van.



                                                   3
Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 6 of 10



                 Law enforcem ent could not locate the building w here the kidnappers sequestered

  and tortured Victim because Victim could notprovide information related thereto on accountof

  his/herblindfold.

          12.    Law enforcem entobtained and view ed video sulweillance from V ictim 'sresidence

  for the early m om ing hotlrs of January 15, 2019. The recording cam e from a cam era in the

  doorbell. Atapproxim ately 2 o'clock a.m .,the video depicts a m an with a baseballcap and a

  headlam p arolm d his neck. This individualheld a fireann in one hand. The individualused a

  cellular device to illum inate the doorhandle. A fam ily m em berofV ictim ,w ho w as notaware of

  the abduction,observed the individualapproach the doorand turned on the residence'slights. The

  m an outside fled w ithoutgaining entry.

          13.    Law enforcem ent obtained and viewed security footage from the comm ercial

  establishm entm entioned in Paragraph 4,w here police fotmd Victim bound in his/her car. The

  video depictsa grey van pulling into the parking lotapproxim ately tw o hoursafterthe kidnapping.

  Thevan parked and an individualexited from the driver'sside ofthevehicle to speak w ith security

  guardsatthecommercialestablishment.Theindividualworewhatappearstobebluejeans,adark
  colored long sleevetop,and a baseballcap with a flag logo.

         14.     Law enforcementrecovered and viewed surveillancevideo from Victim 'sm edical

  office.ln thedayspreceding hisabduction,parking1otfootage depictsagrey coloredvanparked

  in the lotforextended periodson m ultiple occasions.Thevan appears sim ilarto the van depicted

  on the retail store's surveillance footage m entioned in Paragraph 10. The surveillance footage

  from outside of V ictim 's office also revealed the license plate num ber for the van as Florida tag

  numberGHPTI9. Databasechecksrevealedthatarentalcarcompany ownsthatvan.




                                                   4
Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 7 of 10



                Records from that rentalcompany for the van with that license plate number

  dem onstratethatBO CCIO rented the van on January 5,2019,and returned iton January 15,2019.

         16.     On the rentalcar agreem ent for the van,BOC CIO provided a cellulaz telephone

  number(hereinafter,ûtphone 1'').Law enforcementconfirmed,throughdatabasechecks,thatthe
  ntlm berfor Phone 1 thatBO CCIO provided on the rentalagreem entw as also the phone num ber

  associated w ith Florida Powerand Lightutilities in BO CCIO 'Snnm e.

                O n February 7, 2019,1aw Enforcem ent obtained and executed a federal search

  w arrantforthehistoricalcellularsite inform ation and calldetailrecordspertaining to thetelephone

  ntlmberassociatedwith Phone1(CaseNo.19-mj-02156-Torres).
         18.    Cell-site records for Phone 1, obtained through the above-described warrant,

  revealed thatPhone 1 w as active and used nearthe car rentalcom pany m entioned in Paragraphs

  15 and 16 on January 5,2019,and January 15,2019. ln addition,Phone 1 w as active and utilized

  near the com m ercialestablishm ent m entioned in Paragraph 4. Phone 1 also called a telephone

  num berregistered to a taxicom pany.

         19.    Law enforcem entinterview ed security personnelatthe com m ercialestablishm ent

  m entioned in Paragraphs 4 and 13, and learned that the person in the security footage that

  approached the security guard requested a ride from the guard. The individualadvised that he

  w ould pay the security guard for the ride,but the guard declined. The individualw alked aw ay

  from the com m ercialestablishm ent's entrance and back to the vicinity ofthe parking lot.

                Law enforcem entsubsequently obtained recordsfrom the taxicom pany referenced

  in Paragraph 18. These records show ed that the taxicom pany received a callfrom Phone 1 at

  approxim ately 8:54 p.m .on January 14,2019,and listed BO CCIO by nam e as the caller. The




                                                  5
Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 8 of 10



  caller requested taxi service w ith a pick-up location m atching the com m ercial establishm ent's

  address.The servicewassubsequently cancelled,and serdce wasneverperfonned.

         21.     Cell-siterecordsforPhone 1revealthatPhone 1wasutilizednearVictim 'sm edical

  oftk eon January 8,2019,and January 10,2019,which wasduringthetim evideo footagecaptured

  a van in the m edicaloffice's parking lotasreferenced in Paragraph l4.

                A review ofPhone 1 calldetailrecordsdem onstratesthatasecond phone number

  (hereinafler,ûçphone 2') ealled Phone 1 on Jmmary 15,2019. RecordsindicatethatPhone2
  belongs to a suspected co-conspirator (ççco-conspirator          Law enforcement compared a
  driver'slicensephotograph ofCo-conspirator1 and video stillsofthe individualcaptured by the

  doorbellsurveillancevideom entioned inParagraph 12.Co-conspirator1resemblestheindividual

  depicted in thedoorbellsulweillancevideo.

                                 ldentification ofthe D efendant

                Law enforcem ent obtained and review ed security cnm era footage from inside

  Victim'smedicaloftkeonJanuary14,2019(thedayofthekidnapping).Thevideodepictsaman
  entering the office atapproximately 4:45 p.m.(two hoursbefore the kidnapping). The video
  furtherdepicts thism an appearing to filloutpaperwork and using a cellular telephone. V ideo

  footage showsVictim enterthe area where the m an is seated,and then the man abruptly stops

  usingthecellulartelephone,returnsthepaperwork,and leavestheoffice.Theindividualdepicted

  inthesurveillancevideoappearedtobewearingbluejeans,adark coloredlongsleevetop with
  rolled up sleeves, and a baseball cap w ith a flag logo,m atching the attire of the person seen

  speaking to thesecurity guard atthecom m ercialestablishmentasdescribed in Paragraph 13.




                                                 6
Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 9 of 10




                  Law enforcementcomparedadriver'slicensephotographofBOCCIO (below,leftl
  and video stills of the individualcaptured by the m edicaloffice surveillance video m entioned in

  Paragraph 26(below,right1and2):




               Drivcr-sLicense                 videoclip l                    videoclip2


         25.      ln addition to the information provided above relating to cell-site data,a review of

  the calldetailrecords forPhone 1 indicates thatbetw een January 8,2019,and January 16,2019,

  Phone 1had varioustelephone callsand textm essagesw ith Co-conspirator 1 and others betw een

  January 8 and 16,2019,som etim esnearV ictim 'sm edicaloftice.

         26.      State recordsrevealthatBO CCIO lastenrned incom e from a tlightsafety schoolin

  early 2014 and has not reported em ployem ent incom e since. ln addition,records reveal that

  BOCCIO'Swifehasaphonenumberthatisassociatedwithanaviationschool(flightinstruction)
  in FortLauderdale. In m y experience,reflective vests are som etim es used on airporttannacs.




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Case 1:19-cr-20261-CMA Document 1 Entered on FLSD Docket 04/03/2019 Page 10 of 10



                                         CO N CLU SIO N

                B ased on the foregoing,lrespectfully subm itthatthere isprobable cause to believe

   thatBOCCIO and others,known and unknown,committed violationsof 18 U.S.C.j 1201(a)
   (kidnappingl;18 U.S.C.j 1201(c)(conspiracyto commitkidnapping);and 18 U.S.C.j 924/)
   (using/carryingafirearm infurtheranceofacrimeofviolence),assetforthherein.
         FURTHER YOUR AFFIANT SAYETH NOT.

                                                                          '
                                                                              4



                                                        J     S K ELLEY
                                                        Sp 'a1A gent
                                                        FederalBureau oflnvestigation


         Subscribed and sw orn to before m e this          day ofApril,2019.




         JA C     L   BECE
         UN       ST TES M G ISTRA TE JU D G E




                                                    8
